Case 2:03-CV-02568-BBD-tmp Document 287 Filed 05/24/05 Page 1 of 13 Page D 268

 
  

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IN THE UNITED sTATEs DISTRICT coURT

FoR THE wEsTERN DISTRICT oF TENNESSEE USH§VZL LH 5:33
wESTERN DIVISIoN

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CHARLENE SPINKS, W g prN'MEMMHS
Plaintiff,
03 cv 2568 D/P t/"

'V’.

HOME TECH SERVICES CO., INC.,
et al.,

Defendants.

 

BOBBIE J. CARR,
Plaintiff,
03 CV 2569 D/P

HOME TECH SERVICES CO., INC.,
et al.,

'\_r~_¢~_/`_rvvvvv~_.r

Defendants.

 

ORDER GRANTING NOVASTAR MORTGAGE, INC.'S MOTION TO COMPEL
DISCOVERY FOR ITS SECOND SET OF DOCUMENT REQUESTS AND
INTERROGATORIES AND DENYING NOVASTAR'S MOTION FOR SANCTIONS

 

Before the court is defendant NovaStar Mortgage, Inc.'s
(NovaStar) Motion to Compel Discovery, filed on January 14, 2005
(Spinks-NovaStar dkt #189, Carr~NovaStar dkt #263). Plaintiffs
Charlene Spinks and Bobbie Carr responded on February 15, 2005.
NovaStar filed a reply, With leave of court, on March l. On March

3, 2005, the court held a hearing on this motion. Counsel for all ~ 't

interested parties were present and heard. For the reasons below, /;léz:)

Case 2:03-CV-O2568-BBD-tmp Document 287 Filed 05/24/05 Page 2 of 13 Page|D 269

the motion to compel is GRANTED. NovaStar's motion for attorney’s
fees is DENIED.
I. BACKGROUND

On November 9, 2004, NovaStar served its Second. Set of
Document Requests and Interrogatories (“Second Set”) on plaintiffs
Spinks and Carr. The Second Set sought discovery relating to
plaintiffs’ damages and household income. Plaintiffs responded to
the Second Set of discovery on December 13, 2004, objecting to the
discovery requests because, among other objections, the number of
interrogatories exceed the total number of interrogatories allowed
under Fed. R. Civ. P. 33 and the documents sought are not relevant
and unduly burdensome for plaintiffs to produce.

In this motion and in its reply, NovaStar seeks an order
compelling Spinks to produce documents responsive to Requests lB,
22, and 23, and provide responsive answers to interrogatories 21,
25, 26, and 27 of NovaStar’s Second Set of discovery. Similarly,
NovaStar seeks an order compelling Carr to produce documents
responsive to Requests 18 through_ 22, and provide responsive
answers to interrogatories 22, 26, 27, and 28.

II. ANALYSIS
A. Waiver of Objections

As an initial matter, NovaStar argues that the plaintiffs have
waived all objections because they served their discovery responses
late. NovaStar served the plaintiffs with the Second Set of

discovery requests on November 9, 2004 via hand delivery. Although

Case 2:03-CV-O2568-BBD-tmp Document 287 Filed 05/24/05 Page 3 of 13 Page|D 270

under the federal rules the plaintiffs had thirty days to answer
the interrogatories and document requests, they did not respond
until December 13. Plaintiffs assert that they saw the date of
chember 9 on the discovery requests, added three days for service
by' mail, and calendared their response to be due on Monday,
December 13.

“As a general rule, failure to object to discovery requests
within the thirty days provided by Rules 33 and 34 ‘constitutes a
waiver of any objection.’” Carfanqo v. Jackson Nat’l Life Ins. Co.,
NO. 99"118, 2001 WL 34059032, at *l (W.D. Mich. Feb 13,
2001)(unpublished). Neverthelessr “courts will examine the
circumstances of each case, including the reason for tardy
compliance, prejudice to the opposing party, and the facial
propriety of the discovery requests, to determine whether
enforcement of the waiver is equitable.” ld; After considering
these factors, the court finds that the plaintiffs have provided a
sufficient explanation for the delayed response, that the delay in
responding to these discovery requests was, at most, minimal, and
such delay caused no prejudice to NovaStar. Therefore, the court
concludes the plaintiffs did not waive their objections by serving
their responses on December 13.

B. Interrogatories

With respect to interrogatory numbers 21, 25, 26 and 27 in

Spinks and numbers 22, 26, 27, and 28 in Qa;r, the plaintiffs

objected to each, arguing that these interrogatories exceed the

Case 2:03-CV-O2568-BBD-tmp Document 287 Filed 05/24/05 Page 4 of 13 Page|D 271

limit of twenty-five interrogatories under Rule 33(a). Plaintiffs
claim that several interrogatories contained in NovaStar's first
set of interrogatories had discrete subparts that counted toward
the limit. NovaStar argues that these objections have been waived,
the interrogatories do not have impermissible subparts, and that
any such problems have now been corrected by their more limited
request.1

The Advisory Committee Notes to Rule 33 describes what
constitutes a “discrete subpart”:

Parties cannot evade this presumptive limitation [of

twenty-five interrogatories] through the device of
joining as “subparts” questions that seek information
about discrete separate subjects. However, a question

asking about communications of a particular type should

be treated. as a single interrogatory' even though. it

requests that the time, place, persons present, and

contents be stated separately for each communication.
Fed.R.Civ.P. 33 (1993 Committee Notes).

“A subpart is discrete when it is logically or factually
independent of the question posed by the basic interrogatory.”
Power and Tel. Supplv Co., Inc. v. Suntrust Banks, Inc., No. 03-
2217M1V, 2004 WL 784533, at *l (W.D. Tenn. Mar. 15,

2004)(unpublished)(quoting Securitv Ins. Co. of Hartford v.

Trustmark Insurance Co., No. Civ. 3:01CV2198(PCD), 2003 WL

 

22326563, at *l (D. Conn. March 7, 2003)); see also Safeco of Am.
v. Rawstron, 181 F.R.D. 441, 444-45 (C.D. Cal, 1998); Kendall v.

GES Exposition Servs., Inc., 174 F.R.D. 684, 685 (D. Nev. 1997).

 

 

lNovaStar added Spinks Interrogatory No. 25 and Carr Int.
No. 26 in its reply.

Case 2:03-CV-O2568-BBD-tmp Document 287 Filed 05/24/05 Page 5 of 13 Page|D 272

Thus, an interrogatory' containing subparts aimed at eliciting
details concerning a single theme should be considered one
question, while an interrogatory‘ with subparts inquiring into
discrete areas should be counted as more than one. BA Charles Alan
wright et al., Federal Practice and Procedure § 2168.1 (2d ed.
1994) .

After reviewing the interrogatories, the court concludes that
the plaintiffs' contention that there are discrete subparts within
these interrogatories is incorrect. The interrogatories appear to
merely track the language of the plaintiffs' amended complaint, and
essentially ask the plaintiffs for the basis for their allegations
in specific paragraphs of the complaint. Therefore, NovaStar's
motion is GRANTED with respect to these interrogatories.
Plaintiffs shall respond fully to these interrogatories by May 31,
2005.

C. Document Requests

1. Spinks and Carr Document Reduest No. 18

NovaStar argues that the plaintiffs' responses to Document
Request 18 are improper because they fail to describe the
responsive documents with sufficient particularity; Request number
18 and the plaintiffs' response read as follows:

Reguest No. 18: Produce all documents that contain

information about any damage you contend was caused by

any defendant that is related in any way to the

assertions in the Complaint.

Response: Plaintiff has produced all documents in her

possession as part of her Rule 26(a) disclosures.

Additionally documents may be found in defendants’

5

Case 2:03-CV-O2568-BBD-tmp Document 287 Filed 05/24/05 Page 6 of 13 Page|D 273

disclosures and responses to document requests,

specifically; documents from Memphis Financial Services/

Home Tech, NovaStar, Equity Title and Escrow and Gregg

Drew.

NovaStar contends that the plaintiffs should be compelled to
identify the documents with enough particularity so as to allow
NovaStar' to ascertain. which. previously' produced_ documents are
responsive to this particular request. NovaStar cites cases to
support the proposition that Rule 34(b) requires the responding
party to organize and label the documents that are produced and
that identification will further one of the purposes of the 1980
amendment, which was to forestall such abuses as the deliberate
mixing of critical documents with others in the hope of obscuring
significance. Plaintiffs respond by quoting Rule 34(b) and argue
that they' have Complied. with the rule because it allows for
production of documents as they are kept in the usual course of
business, and that the documents produced by the other defendants
mentioned in the plaintiffs' response were “presumably” kept in the
usual course of business.

In Allianz lns. Co. v. Surface Specialties, Inc., No. 03-2470,
2005 WL 44534, at 2~3 (D. Kan. Jan. 7, 2005) (unpublished), the
court stated:

The . . . issue raised by Defendant is whether

Plaintiff's statement that “documents responsive to this

request have been produced previously as part of

[Plaintiff’s] Fed.R.Civ.P. 26 disclosures” constitutes

a sufficient and appropriate response to Defendant's

requests for production. Defendant asserts that

Plaintiff is not allowed to refer to previously produced

or identified documents in lieu of providing specific
identification of the documents corresponding to the

Case 2:03-CV-O2568-BBD-tmp Document 287 Filed 05/24/05 Page 7 of 13 Page|D 274

specific request. lnstead, Defendant argues that
Plaintiff must either produce the documents or identify
documents in a manner that permits Defendant to
determine which documents respond to the individual
requests. Plaintiff maintains that its discovery
response stating the requested information was
previously provided as part of its Rule 26 disclosures
fulfills its obligation without the necessity of
duplicating previous disclosures.

Federal Rule of Civil Procedure 34(b) generally
governs requests for production of documents and things.
It provides that a party who produces documents for
inspection "shall produce them as they are kept in the
usual course of business or shall organize and label
them to correspond with the categories in the request."
Applying this rule, the court has held that absent some
indication the requested documents were produced as they
are kept in the usual course of business, the party
responding to the requests is required to identify the
particular documents or to organize and label them to
correspond to the requests. Epling v. UCB Films, Inc.,
NOS. 98»4226, 98-4227, 2000 WL 1466216, at *17 (D. Kan.
Aug. 7, 2000).

The Court agrees with Defendant that Plaintiff's
response that “documents responsive to this request have

been produced previously as part of [Plaintiff's]

Fed.R.Civ.P. 26 disclosures" does not comply with Rule

34(b). As there is no indication the requested

documents were produced as they are kept in the usual

course of business, Plaintiff is required to identify

the particular documents or to organize and label them

to correspond to each request.

Allianz Ins., 2005 WL 44534, at 2-3.

Similarly, in Burton Mech. Contractors, Inc. v. Foreman, 148
F.R.D. 230 (N.D. Ind. 1992}, the defendant was requested to
identify a category of documents, and he responded by referring
plaintiffs to “documents previously produced bearing Bates Nos.
D000001 through DOOO728.” Id. at 232. The court ruled that the

defendant had to specifically identify which of these documents

were responsive to the discovery request.

7

Case 2:03-CV-O2568-BBD-tmp Document 287 Filed 05/24/05 Page 8 of 13 Page|D 275

As was the case in Allianz and Foreman, Plaintiffs’ response
that NovaStar can find the responsive documents in the plaintiffs'
as well as other defendants' Rule 26(a)(1) disclosures is
insufficient. Moreover, the plaintiffs can. only assume that
documents produced by other defendants and a non-party in response
to plaintiffs' discovery requests were, in fact, produced as they
were kept in the usual course of business. §§e Plaintiffs’ response
at 9 (“documents provided by other defendants and referenced by
Plaintiff in her response were presumably produced in the manner
they were kept in the usual course of business.”)(emphasis added).
Finally, the plaintiffs' reference to documents produced by other
parties and non-parties refers generically to “disclosures and
responses to document requests. specifically, documents from [other
defendants and a non-party].” NovaStar cannot discern from this
response which of the documents previously produced relate to this
particular interrogatory. Presumablyj the previously' produced
documents relate to many other subject matters other than the
plaintiffs' damages.

Therefore, the plaintiffs are ordered to respond to
interrogatory number 18 by no later than May 31, 2005, and shall
organize, label, or otherwise identify' with specificity' which

documents are responsive to this interrogatory.2

 

2Plaintiffs state on page 8 of their response that “[i]n
essence, NovaStar wants Plaintiff to identify documents she will
use as exhibits at trial." This contention is simply incorrect.
The document request asks for documents that relate to
plaintiffs' damages. Whether or not the plaintiffs intend to use

8

Case 2:03-CV-O2568-BBD-tmp Document 287 Filed 05/24/05 Page 9 of 13 Page|D 276

2. Carr Document Request Nos. 19 and 203

Document Request Nos. 19 and 20 directed at Carr relate to her
household income. NovaStar argues that because Carr has put her
ability to pay at issue in the case, NovaStar should be allowed to
discover information regarding her household income.

Request No. 19 in gary asks for all documents from depository
institutions with whom Carr did business from 2000 through 2002
that contain the amount or date of any deposit. NovaStar would
also accept a signed consent form to send to the institutions.
Plaintiffs object, arguing that these documents are not relevant
and that production is unduly burdensome. Carr is willing to
produce bank statements from January l, 2002 to March 1, 2002.

Request No. 20 in gar; demands all documents that Carr
submitted to the IRS from 2000 through 2002 that would show any
portion of her income. NovaStar is also willing to accept a signed
consent form to obtain the records. Carr objects to the request,
arguing that it is not relevant to the action and would be unduly
burdensome to produce, but she is willing to produce her 2001 tax
return.

On March 1, 2005, this court entered an order that dealt with
a substantially similar issue. _§§ Order Denying Plaintiffs'

Motion to Quash World Wide Mortgage Subpoena. For the same reasons

 

any of these documents at trial - and if so, which ones - is a
completely separate matter.

3 According to its reply, NovaStar states that Document
Requests 19 and 20 are no longer at issue in the Spinks case.

9

Case 2:03-CV-O2568-BBD-tmp Document 287 Filed 05/24/05 Page 10 of 13 Page|D 277

set forth in the court’s March 1 order, NovaStar's request for
financial records and IRS tax return records is GRANTED. Carr
shall produce her bank records for the period from January 1, 2000
to the date that her loan closed. Carr shall also produce her IRS
tax returns for the years 2000, 2001, and 2002. If she does not
have these documents in her possession, she must execute such
consent forms that are necessary for NovaStar to obtain these
records from third parties. The documents shall be produced, or
consent forms must be executed, by May 31, 2005.

3. Spinks Document Request Nos. 22 and 23
Carr Document Reguest Nos. 21 and 22

These requests ask for all documents that are identified in
the plaintiffs' responses to interrogatory numbers 22, 26, 27 and
28 in §§r; and numbers 21, 25, 26, and 27 in Spinks. Plaintiffs
objected to producing any of these supporting documents based on
their objection to the number of interrogatories. However, based
on the court’s ruling above ordering the plaintiffs to respond to
these interrogatories, Spinks and Carr shall therefore produce
documents identified in their interrogatory responses by May 31,
2005.

III . CONCLUSION

For the reasons above, NovaStar’s motion to compel is GRANTED.
Plaintiffs shall respond to the discovery requests, as set forth in
this order, by May 31, 2005.

NovaStar's request for attorney’s fees, costs and expenses is
DENIED.

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Case 2:03-CV-O2568-BBD-tmp Document 287 Filed 05/24/05 Page 11 of 13 Page|D 278

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TU M. PHAM
United States Magistrate Judge

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Date

IT lS SO ORDERED.

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Case 2:03-cV-O2568-BBD-tmp Document 287 Filed 05/24/05 Page 13 of 13 Page|D 280

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Honorable Bernice Donald
US DISTRICT COURT

